                Case 15-12430-amc                                          Doc 1           Filed 04/08/15 Entered 04/08/15 16:41:30                                                                Desc Main
B1 (Official Form 1) (4/13)                                                                Document Page 1 of 67
                                                               United States Bankruptcy Court                                                                                                 Voluntary Petition
                                                            EASTERN DISTRICT OF PENNSYLVANIA
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Coppa, Nicholas V.
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   9857                                                                                (if more than one, state all):
  Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                    (No. & Street, City, and State):
  7 Line Road
  Malvern, PA
                                                                                               ZIPCODE                                                                                                           ZIPCODE
                                                                                               19355
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Chester                                                              Principal Place of Business:
  Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                    (if different from street address):

  SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): NOT APPLICABLE


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                   Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
             Case 15-12430-amc                         Doc 1          Filed 04/08/15 Entered 04/08/15 16:41:30                                                   Desc Main
B1 (Official Form 1) (4/13)                                           Document Page 2 of 67                                                                           FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                             Nicholas V. Coppa
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 PENNSYLVANIA EASTERN                                                                14-16645                                                     August 19, 2014
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Robert J. Lohr II                                                          4/ 7/2015
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
               Case 15-12430-amc                         Doc 1      Filed 04/08/15 Entered 04/08/15 16:41:30                                    Desc Main
B1 (Official Form 1) (4/13)                                         Document Page 3 of 67                                                            FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     Nicholas V. Coppa
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Nicholas V. Coppa
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

       4/ 7/2015                                                                      (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Robert J. Lohr II                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Robert J. Lohr II 75676
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     Lohr & Associates, Ltd.                                                    pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     1246 West Chester Pike                                                     or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.
     Suite 312
     West Chester, PA                         19382
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     (610) 701-0222
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
       4/ 7/2015                                                                 individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
              Case 15-12430-amc                    Doc 1      Filed 04/08/15 Entered 04/08/15 16:41:30                              Desc Main
                                                              Document Page 4 of 67
 Fill in this information to identify your case:

 Debtor 1            Nicholas V. Coppa
                   __________________________________________________________________
                     First Name               Middle Name             Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name             Last Name


                                          EASTERN
 United States Bankruptcy Court for the: ______________________              PENNSYLVA
                                                                District of __________
                                                                                  (State)
 Case number         ___________________________________________
 (If known)
                                                                                                                   Check if this is an amended filing


Official Form 22C–2
Chapter 13 Calculation of Your Disposable Income                                                                                                12/14

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 22C–1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).



Part 1:          Calculate Your Deductions from Your Income



    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
    answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
    this form. This information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
   of your actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from
   income in lines 5 and 6 of Form 22C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13
   of Form 22C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




    5.   The number of people used in determining your deductions from income
         Fill in the number of people who could be claimed as exemptions on your federal income tax return,
         plus the number of any additional dependents whom you support. This number may be different                            3
         from the number of people in your household.



    National Standards            You must use the IRS National Standards to answer the questions in lines 6-7.



    6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
         Standards, fill in the dollar amount for food, clothing, and other items.                                                           1249.00
                                                                                                                                          $________



    7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
         fill in the dollar amount for out-of-SRFNHWKHDOWKFDUH7KHQXPEHURISHRSOHLVVSOLWLQWRWZRFDWHJRULHVņSHRSOHZKRDUH
         XQGHUDQGSHRSOHZKRDUHRUROGHUņEHFDXVHROGHUSHRSOHKDYHDKLJKHU,56DOORZDQFHIRUKHDOWKFDUHFRVWs. If your
         actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 22CɅ2                                    Chapter 13 Calculation of Your Disposable Income                                                page 1
           Case 15-12430-amc                              Doc 1             Filed 04/08/15 Entered 04/08/15 16:41:30 Desc Main
Debtor 1
                 Nicholas V. Coppa                     Document
                _______________________________________________________
                                                                                         Page 5 of 67
                                                                                                   Case number (if known)_____________________________________
                First Name         Middle Name                Last Name




           People who are under 65 years of age
                                                                       60.00
           7a. Out-of-pocket health care allowance per person $______________

           7b. Number of people who are under 65                                         3.00
                                                                                     X ______
                                                                                                                   Copy line
           7c. Subtotal. Multiply line 7a by line 7b.                                        180.00
                                                                                     $______________                                    180.00
                                                                                                                                  $___________
                                                                                                                   7c hereÎ

            People who are 65 years of age or older

                                                                      144.00
           7d. Out-of-pocket health care allowance per person $______________

           7e. Number of people who are 65 or older                                     0.00
                                                                                     X ______
                                                                                                                   Copy line
           7f. Subtotal. Multiply line 7d by line 7e.                                          0.00
                                                                                     $______________               7f hereÎ
                                                                                                                                 + $__________
                                                                                                                                         0.00


                                                                                                                                                   Copy total
      7g. Total. Add lines 7c and 7f. ........................................................................................          180.00
                                                                                                                                  $___________                               180.00
                                                                                                                                                   hereÎ ......... 7g.   $_________

  Local
                        You must use the IRS Local Standards to answer the questions in lines 8-15.
  Standards

  Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy purposes
  into two parts:
   Housing and utilities – Insurance and operating expenses
   Housing and utilities – Mortgage or rent expenses

  To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
  specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

  8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in
                                                                                                                                                                             643.00
                                                                                                                                                                         $_________
      the dollar amount listed for your county for insurance and operating expenses.

  9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount
                                                                                                                                     1920.00
                                                                                                                                 $__________
                listed for your county for mortgage or rent expenses.
           9b. Total average monthly payment for all mortgages and other debts secured by
                your home.
                To calculate the total average monthly payment, add all amounts that are
                contractually due to each secured creditor in the 60 months after you file for
                bankruptcy. Next divide by 60.

               Name of the creditor                                                  Average monthly
                                                                                     payment


             CitiMortgage
            ______________________________________                                          2150
                                                                                      $__________
             National Bank of Malvern
            ______________________________________                                           656
                                                                                      $__________

            ______________________________________
                                                                                 +             0
                                                                                      $__________
                                                                                                                Copy line                           Repeat this amount
           9b.Total average monthly payment ........................                      2806.00
                                                                                      $__________               9b hereÎ
                                                                                                                                 ņ $____________
                                                                                                                                        2806.00
                                                                                                                                                    on line 33a.

      9c. Net mortgage or rent expense.
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent                                               0.00
                                                                                                                                 $____________     Copy 9c hereÎ               0.00
                                                                                                                                                                         $_________
           expense). If this number is less than $0, enter $0.

  10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                     0.00
                                                                                                                                                                         $_________
      the calculation of your monthly expenses, fill in any additional amount you claim.
           Explain why:       ________________________________________________________________
                              ________________________________________________________________



Official Form 22CɅ2                                            Chapter 13 Calculation of Your Disposable Income                                                                  page 2
           Case 15-12430-amc                   Doc 1             Filed 04/08/15 Entered 04/08/15 16:41:30 Desc Main
Debtor 1       Nicholas V. Coppa                     Document
              _______________________________________________________
                                                                              Page 6 of 67
                                                                                        Case number (if known)_____________________________________
              First Name     Middle Name            Last Name



  11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
           ✔ 0. Go to line 14.
           
           ✔ 1. Go to line 12.
           
           2 or more. Go to line 12.

  12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
      expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                   299.00
                                                                                                                                              $________


  13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
      vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you
      may not claim the expense for more than two vehicles.


           Vehicle 1       Describe        _______________________________________________________________________
                           Vehicle 1:
                                           _______________________________________________________________________


           13a. Ownership or leasing costs using IRS Local Standard                                          517.00
                                                                                                      $____________
                                                                                            13a.

           13b. Average monthly payment for all debts secured by Vehicle 1.
                Do not include costs for leased vehicles.
                To calculate the average monthly payment here and on line 13e,
                add all amounts that are contractually due to each secured
                creditor in the 60 months after you file for bankruptcy. Then
                divide by 60.

              Name of each creditor for Vehicle 1               Average monthly
                                                                payment

                                                                                  Copy13b                             Repeat this amount
                                                         0.00
             _________________________________ $_____________
                                                                                  hereÎ
                                                                                                    ņ $___________
                                                                                                              0.00
                                                                                                                      on line 33b.




           13c. Net Vehicle 1 ownership or lease expense                                                                Copy net Vehicle 1
                Subtract line 13b from line 13a. If this number is less than $0, enter $0. 13c.             517.00
                                                                                                      $___________      expense hereÎ            517.00
                                                                                                                                             $________




           Vehicle 2       Describe        _______________________________________________________________________
                           Vehicle 2:
                                           ________________________________________________________________________


           13d. Ownership or leasing costs using IRS Local Standard                         13d.              0.00
                                                                                                      $___________

           13e. Average monthly payment for all debts secured by Vehicle 2.
                Do not include costs for leased vehicles.

             Name of each creditor for Vehicle 2                Average monthly
                                                                payment


                                                                                                                      Repeat this amount
                                                        0.00
            _________________________________ $_____________                      Copy hereÎ        ņ $___________
                                                                                                              0.00
                                                                                                                      on line 33c.



           13f. Net Vehicle 2 ownership or lease expense                                                                Copy net Vehicle 2
                                                                                                             0.00
                                                                                                      $__________                                  0.00
                                                                                                                                             $________
                Subtract line 13e from 13d. If this number is less than $0, enter $0.        13f.                       expense here   Î

  14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
      Transportation expense allowance regardless of whether you use public transportation.                                                  $________0


  15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
      deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
                                                                                                                                                 184.00
                                                                                                                                             $________
      more than the IRS Local Standard for Public Transportation.



Official Form 22CɅ2                                  Chapter 13 Calculation of Your Disposable Income                                                 page 3
           Case 15-12430-amc                    Doc 1         Filed 04/08/15 Entered 04/08/15 16:41:30 Desc Main
Debtor 1
                Nicholas V. Coppa                     Document
               _______________________________________________________
                                                                           Page 7 of 67
                                                                                     Case number (if known)_____________________________________
              First Name      Middle Name         Last Name




  Other Necessary                 In addition to the expense deductions listed above, you are allowed your monthly expenses for the
  Expenses                        following IRS categories.

  16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-
      employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
      your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12                                              1660.00
                                                                                                                                                                    $________
      and subtract that number from the total monthly amount that is withheld to pay for taxes.
      Do not include real estate, sales, or use taxes.

  17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
      union dues, and uniform costs.
      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                                                0.00
                                                                                                                                                                    $________

  18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
      together, include payments that you make for your spouse’s term life insurance.
      Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life
      insurance other than term.                                                                                                                                          0.00
                                                                                                                                                                    $________

  19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
      agency, such as spousal or child support payments.                                                                                                                  0.00
                                                                                                                                                                    $________
      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

  20. Education: The total monthly amount that you pay for education that is either required:
       as a condition for your job, or                                                                                                                                   0.00
                                                                                                                                                                    $________
       for your physically or mentally challenged dependent child if no public education is available for similar services.

  21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
      Do not include payments for any elementary or secondary school education.                                                                                           0.00
                                                                                                                                                                    $________
  22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
      required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
      savings account. Include only the amount that is more than the total entered in line 7.                                                                             0.00
                                                                                                                                                                    $________
      Payments for health insurance or health savings accounts should be listed only in line 25.

  23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
      you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
      service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
      is not reimbursed by your employer.                                                                                                                       +        45.00
                                                                                                                                                                    $________
      Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
      expenses, such as those reported on line 5 of Form 22C-1, or any amount you previously deducted.

  24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                4777.00
                                                                                                                                                                    $________
      Add lines 6 through 23.

  Additional Expense                   These are additional deductions allowed by the Means Test.
  Deductions                           Note: Do not include any expense allowances listed in lines 6-24.

  25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
      insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
      dependents.
           Health insurance                                        298.00
                                                              $__________

           Disability insurance                                      0.00
                                                              $__________
           Health savings account                                  0.00
                                                          + $__________
           Total                                                   298.00
                                                              $__________    Copy total hereÎ ...............................................................           298.00
                                                                                                                                                                    $________

           Do you actually spend this total amount?
      ✔ No. How much do you actually spend?
                                                                0.00
                                                          $__________
       Yes
  26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your                                        0.00
                                                                                                                                                                    $________
      household or member of your immediate family who is unable to pay for such expenses.

  27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
      you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                                         0.00
                                                                                                                                                                    $________
      By law, the court must keep the nature of these expenses confidential.

Official Form 22CɅ2                                Chapter 13 Calculation of Your Disposable Income                                                                         page 4
           Case 15-12430-amc                              Doc 1            Filed 04/08/15 Entered 04/08/15 16:41:30 Desc Main
Debtor 1
                  Nicholas V. Coppa                    Document
                _______________________________________________________
                                                                                        Page 8 of 67
                                                                                                  Case number (if known)_____________________________________
                First Name         Middle Name               Last Name



  28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities allowance
      on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage                                                0.00
                                                                                                                                                                    $________
      housing and utilities allowance, then fill in the excess amount of home energy costs.
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.

  29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $156.25*
                                                                                                                                                                          0.00
                                                                                                                                                                    $________
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
      elementary or secondary school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
      * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.

  30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher                                                 0.00
                                                                                                                                                                    $________
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.


  31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
      instruments to a religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).                                                                                 0.00
                                                                                                                                                                  + __________
      Do not include any amount more than 15% of your gross monthly income.

  32. Add all of the additional expense deductions.                                                                                                                     298.00
                                                                                                                                                                  $___________
      Add lines 25 through 31.


  Deductions for Debt Payment

  33. For debts that are secured by an interest in property that you own, including home mortgages,
      vehicle loans, and other secured debt, fill in lines 33a through 33g.
      To calculate the total average monthly payment, add all amounts that are contractually due to each
      secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.



                                                                                                                                   Average monthly
                                                                                                                                   payment
           Mortgages on your home                                                                       
           33a. Copy line 9b here ............................................................................................ Î       2806.00
                                                                                                                                   $___________

           Loans on your first two vehicles                                                             
           33b. Copy line 13b here. ......................................................................................... Î           0.00
                                                                                                                                   $___________

           33c. Copy line 13e here. ......................................................................................... Î
                                                                                                                                          0.00
                                                                                                                                   $___________

           Name of each creditor for other                      Identify property that secures                   Does payment
           secured debt                                         the debt                                         include taxes
                                                                                                                 or insurance?

                                                                                          T  ✔ No
                                                                                                                        0.00
                                                                                                                 $___________
           33d. ____________________________ _____________________________                TYes
                                                                                          T  ✔ No
                                                                                                                        0.00
                                                                                                                 $___________
           33e. ____________________________ _____________________________                TYes
                                                                                          T  ✔ No
                                                                                                                        0.00
                                                                                                               + $___________
           33f. _____________________________ _____________________________
                                                                                          TYes
                                                                                                                                                     Copy total
           33g. Total average monthly payment. Add lines 33a through 33f....................................... $___________
                                                                                                                     2806.00                                           2806.00
                                                                                                                                                                    $________
                                                                                                                                                     hereÎ




Official Form 22CɅ2                                            Chapter 13 Calculation of Your Disposable Income                                                              page 5
           Case 15-12430-amc                          Doc 1           Filed 04/08/15 Entered 04/08/15 16:41:30 Desc Main
Debtor 1        Nicholas V. Coppa                     Document
               _______________________________________________________
                                                                                   Page 9 of 67
                                                                                             Case number (if known)_____________________________________
               First Name        Middle Name             Last Name




  34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for
      your support or the support of your dependents?


          No. Go to line 35.
      ✔
          Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of
                your property (called the cure amount). Next, divide by 60 and fill in the information below.

                  Name of the creditor                   Identify property that               Total cure                     Monthly cure amount
                                                         secures the debt                     amount

                   Malvern Federal Bank
                  __________________________              7 Line Road, Malvern
                                                         __________________                     11,154.60
                                                                                              $__________         ÷ 60 =          185.91
                                                                                                                             $___________


                  __________________________             __________________                          0.00
                                                                                              $__________         ÷ 60 =            0.00
                                                                                                                             $___________


                  __________________________             __________________                          0.00
                                                                                              $__________                         0.00
                                                                                                                  ÷ 60 = + $___________
                                                                                                                                                   Copy
                                                                                                                  Total            185.91
                                                                                                                             $___________          total        185.91
                                                                                                                                                            $________
                                                                                                                                                   hereÎ


                                    such as a priority tax, child support, or alimony that are past due as of the
  35. Do you owe any priority claims
      filing date of your bankruptcy case? 11 U.S.C. § 507.
          No. Go to line 36.
      
      ✔    Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing
                priority claims, such as those you listed in line 19.

                  Total amount of all past-due priority claims. .........................................................          10,464.00
                                                                                                                             $______________       ÷ 60         174.40
                                                                                                                                                            $________



  36. Projected monthly Chapter 13 plan payment                                                                                      360.31
                                                                                                                             $______________

      Current multiplier for your district as stated on the list issued by the Administrative Office
      of the United States Courts (for districts in Alabama and North Carolina) or by the
      Executive Office for United States Trustees (for all other districts).                                                   0.08
                                                                                                                            x ______
      To find a list of district multipliers that includes your district, go online using the link specified
      in the separate instructions for this form. This list may also be available at the bankruptcy
      clerk’s office.
                                                                                                                                                   Copy
                                                                                                                                      30.27
                                                                                                                             $______________       total         30.27
                                                                                                                                                            $________
      Average monthly administrative expense                                                                                                       hereÎ

  37. Add all of the deductions for debt payment. Add lines 33g through 36.
                                                                                                                                                               3196.58
                                                                                                                                                            $________




  Total Deductions from Income

  38. Add all of the allowed deductions.

     Copy line 24, All of the expenses allowed under IRS expense allowances........................                                 4777.00
                                                                                                                             $______________

     Copy line 32, All of the additional expense deductions......................................................                    298.00
                                                                                                                             $______________

     Copy line 37, All of the deductions for debt payment.........................................................                   3196.58
                                                                                                                            + $______________
                                                                                                                                                   Copy
     Total deductions                                                                                                               8271.58
                                                                                                                             $______________       total       8271.58
                                                                                                                                                            $________
                                                                                                                                                   here Î




Official Form 22CɅ2                                        Chapter 13 Calculation of Your Disposable Income                                                          page 6
              Case 15-12430-amc                          Doc 1           Filed 04/08/15 Entered 04/08/15 16:41:30 Desc Main
 Debtor 1
                    Nicholas V. Coppa                    Document
                   _______________________________________________________
                                                                                      Page 10 of Case
                                                                                                  67 number (if known)_____________________________________
                   First Name       Middle Name             Last Name


Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

39. Copy your total current monthly income from line 14 of Form 22C-1, Chapter 13                                                                                         8333.00
                                                                                                                                                                       $_________
    Statement of Your Current Monthly Income and Calculation of Commitment Period. .............................................................................
40. Fill in any reasonably necessary income you receive for support for dependent children.
    The monthly average of any child support payments, foster care payments, or disability
    payments for a dependent child, reported in Part I of Form 22C-1, that you received in                                                 0.00
                                                                                                                                  $____________
    accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
    expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
    employer withheld from wages as contributions for qualified retirement plans, as specified                                             0.00
                                                                                                                                  $____________
    in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
    specified in 11 U.S.C. § 362(b)(19).


42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here .................. Î                             8271.58
                                                                                                                                  $____________


43. Deduction for special circumstances. If special circumstances justify additional expenses
    and you have no reasonable alternative, describe the special circumstances and their
    expenses. You must give your case trustee a detailed explanation of the special
    circumstances and documentation for the expenses.

      Describe the special circumstances                                                Amount of expense

      43a. ______________________________________________________                                  0.00
                                                                                           $___________

      43b. ______________________________________________________                                  0.00
                                                                                           $___________
      43c. ______________________________________________________                       + $___________
                                                                                                  0.00
                                                                                                                  Copy 43d
                                                                                                   0.00
      43d.Total. Add lines 43a through 43c.....................................            $___________           here   Î       + $_____________
                                                                                                                                           0.00


                                                                                                                                                    Copy total
44. Total adjustments. Add lines 40 and 43d. ............................................................................... Î         8271.58
                                                                                                                                  $_____________                   –      8271.58
                                                                                                                                                                       $_________
                                                                                                                                                    here   Î


                                                                                                                                                                            61.42
                                                                                                                                                                       $_________
45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.




  Part 3:           Change in Income or Expenses


 46. Change in income or expenses. If the income in Form 22C-1 or the expenses you reported in this form
      have changed or are virtually certain to change after the date you filed your bankruptcy petition and during
      the time your case will be open, fill in the information below. For example, if the wages reported increased
      after you filed your petition, check 22C-1 in the first column, enter line 2 in the second column, explain why
      the wages increased, fill in when the increase occurred, and fill in the amount of the increase.

       Form                 Line      Reason for change                                        Date of change            Increase or       Amount of change
                                                                                                                         decrease?

        22Cņ              ____       _______________________________                        ____________
                                                                                                                          Increase               0.00
                                                                                                                                          $____________
        22Cņ2                                                                                                            Decrease
        22Cņ              ____       _______________________________                        ____________
                                                                                                                          Increase               0.00
                                                                                                                                          $____________
        22Cņ2                                                                                                            Decrease
        22Cņ              ____       _______________________________                        ____________
                                                                                                                          Increase               0.00
                                                                                                                                          $____________
        22Cņ2                                                                                                            Decrease

        22Cņ              ____       _______________________________                        ____________
                                                                                                                          Increase                  0
                                                                                                                                          $____________
        22Cņ2                                                                                                            Decrease


 Official Form 22CɅ2                                          Chapter 13 Calculation of Your Disposable Income                                                                 page 7
            Case 15-12430-amc                      Doc 1        Filed 04/08/15 Entered 04/08/15 16:41:30 Desc Main
Debtor 1
                 Nicholas V. Coppa                   Document
               _______________________________________________________
                                                                             Page 11 of Case
                                                                                         67 number (if known)_____________________________________
               First Name            Middle Name    Last Name




Part 4:          Sign Below




By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.



8   ___________________________________________________                     8__________________________________
    Signature of Debtor 1                                                      Signature of Debtor 2


          4/ 7/2015
    Date _________________                                                           4/ 7/2015
                                                                               Date _________________
           MM / DD          / YYYY                                                  MM / DD      / YYYY




Official Form 22CɅ2                                  Chapter 13 Calculation of Your Disposable Income                                         page 8
               Case 15-12430-amc                  Doc 1    Filed 04/08/15 Entered 04/08/15 16:41:30                             Desc Main
                                                           Document Page 12 of 67

  Fill in this information to identify your case:                                                              Check as directed in lines 17 and 21:
                                                                                                               According to the calculations required by
  Debtor 1           Nicholas V. Coppa
                    __________________________________________________________________                         this Statement:
                      First Name             Middle Name             Last Name

  Debtor 2            ________________________________________________________________
                                                                                                               ✔
                                                                                                                  1. Disposable income is not determined
  (Spouse, if filing) First Name             Middle Name             Last Name                                        under 11 U.S.C. § 1325(b)(3).
                                           EASTERN
  United States Bankruptcy Court for the: ______________________              PENNSYLVA
                                                                 District of __________
                                                                                                               ✔
                                                                                                                  2. Disposable income is determined
                                                                                 (State)                              under 11 U.S.C. § 1325(b)(3).
  Case number         ___________________________________________
  (If known)                                                                                                   ✔
                                                                                                                  3. The commitment period is 3 years.
                                                                                                               ✔
                                                                                                                  4. The commitment period is 5 years.

                                                                                                              
                                                                                                               Check if this is an amended filing

Official Form 22C–1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                           12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Part 1:          Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
   ✔ Not married. Fill out Column A, lines 2-11.
   
    Married. Fill out both Columns A and B, lines 2-11.
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                   Column A            Column B
                                                                                                   Debtor 1            Debtor 2 or
                                                                                                                       non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                                 8333.00
                                                                                                   $____________                0.00
                                                                                                                          $__________

3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                                           0.00
                                                                                                   $____________                0.00
                                                                                                                          $__________
   Column B is filled in.
4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Include regular contributions from a spouse only if Column B is not filled
   in. Do not include payments you listed on line 3.
                                                                                                          0.00
                                                                                                   $___________                 0.00
                                                                                                                          $__________

5. Net income from operating a business, profession, or farm

   Gross receipts (before all deductions)                                     0.00
                                                                      $____________

   Ordinary and necessary operating expenses                                  0.00
                                                                    – $____________
                                                                                           Copy            0.00                0.00
   Net monthly income from a business, profession, or farm                    0.00
                                                                      $____________                $____________          $_________
                                                                                           hereÎ


6. Net income from rental and other real property
   Gross receipts (before all deductions)                                     0.00
                                                                     $____________

   Ordinary and necessary operating expenses                               0.00
                                                                – $_____________
                                                                                           Copy
   Net monthly income from rental or other real property                      0.00
                                                                     $____________                         0.00                0.00
                                                                                           hereÎ   $____________         $__________


 Official Form 22C–1               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                          page 1
                Case 15-12430-amc                                  Doc 1            Filed 04/08/15 Entered 04/08/15 16:41:30 Desc Main
 Debtor 1
                        Nicholas V. Coppa
                     _______________________________________________________        Document Page 13 of Case
                                                                                                          67 number (if known)_____________________________________
                     First Name           Middle Name                  Last Name



                                                                                                                                        Column A                            Column B
                                                                                                                                        Debtor 1                            Debtor 2 or
                                                                                                                                                                            non-filing spouse

7. Interest, dividends, and royalties                                                                                                             0.00
                                                                                                                                          $____________                              0.00
                                                                                                                                                                               $__________

8. Unemployment compensation                                                                                                                      0.00
                                                                                                                                          $____________                              0.00
                                                                                                                                                                               $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ..................................Ð

        For you .......................................................................                   0.00
                                                                                                 $_____________
        For your spouse .........................................................                         0.00
                                                                                                 $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                                       0.00
                                                                                                                                          $____________                              0.00
                                                                                                                                                                               $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total on line 10c.
                                                                                                                                                     0
                                                                                                                                          $_____________                                0
       10a. __________________________________________________________________                                                                                                 $___________
                                                                                                                                          $_____________                       $___________
       10b. __________________________________________________________________

       10c. Total amounts from separate pages, if any.                                                                                + $____________                      + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                        8333.00
                                                                                                                                          $____________                +              0.00
                                                                                                                                                                               $___________           =     8333.00
                                                                                                                                                                                                          $________
                                                                                                                                                                                                          Total average
                                                                                                                                                                                                          monthly income




Part 2:            Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ..........................................................................................................................                          8333.00
                                                                                                                                                                                                       $_____________
13. Calculate the marital adjustment. Check one:
     ✔ You are not married. Fill in 0 in line 13d.
     
      You are married and your spouse is filing with you. Fill in 0 in line 13d.
      You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
           or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or
           your dependents.
           In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
           necessary, list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 on line 13d.
           13a. _______________________________________________________________________                                                              0.00
                                                                                                                                              $___________
           13b. _______________________________________________________________________                                                              0.00
                                                                                                                                              $___________
           13c. _______________________________________________________________________                                                    + $___________
                                                                                                                                                    0.00
           13d. Total .............................................................................................................                  0.00
                                                                                                                                              $___________                Copy here.    Î     13d.   ņ____________
                                                                                                                                                                                                             0.00


14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                              14.         8333.00
                                                                                                                                                                                                       $ __________


15. Calculate your current monthly income for the year. Follow these steps:
                                                                                                                                                                                                           8333.00
                                                                                                                                                                                                      $ ____________
     15a. Copy line 14 here           Î ..................................................................................................................................................... 15a.
             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                x 12
     15b. The result is your current monthly income for the year for this part of the form.                                                                                                 15b.         99996.00
                                                                                                                                                                                                      $___________


 Official Form 22C–1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                            page 2
               Case 15-12430-amc                                 Doc 1            Filed 04/08/15 Entered 04/08/15 16:41:30 Desc Main
 Debtor 1
                       Nicholas V. Coppa
                     _______________________________________________________      Document Page 14 of Case
                                                                                                        67 number (if known)_____________________________________
                     First Name          Middle Name                 Last Name




16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                              PENNSYLV
                                                                                           _________

     16b. Fill in the number of people in your household.                                   3.00
                                                                                           _________


     16c. Fill in the median family income for your state and size of household............................................................................. 16c.                                    71703.00
                                                                                                                                                                                                  $___________
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.        Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C.
                  § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C–2).
          ✔ Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C.
     17b. 
                  § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C–2). On line 39 of that form, copy
                  your current monthly income from line 14 above.

Part 3:             Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


18. Copy your total average monthly income from line 11. .......................................................................................................................... 18.              8333.00
                                                                                                                                                                                                  $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
     income, copy the amount from line 13d.
     If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                    19a.   ņ $__________
                                                                                                                                                                                                        0.00

     Subtract line 19a from line 18.                                                                                                                                                                 8333.00
                                                                                                                                                                                                  $__________
                                                                                                                                                                                         19b.

20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b................................................................................................................................................................. 20a.        8333.00
                                                                                                                                                                                                 $___________

            Multiply by 12 (the number of months in a year).                                                                                                                                    x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                            20b.        99996.00
                                                                                                                                                                                                 $___________


     20c. Copy the median family income for your state and size of household from line 16c. ........................................................
                                                                                                                                                                                                    71703.00
                                                                                                                                                                                                 $___________

21. How do the lines compare?

         Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
          3 years. Go to Part 4.
     ✔ Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
     
          check box 4, The commitment period is 5 years. Go to Part 4.


 Part 4:           Sign Below

        By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

        8     ___________________________________________________                                             8____________________________________
             Signature of Debtor 1                                                                                  Signature of Debtor 2


                   4/ 7/2015
             Date _________________                                                                                       4/ 7/2015
                                                                                                                    Date _________________
                    MM / DD         / YYYY                                                                                  MM / DD        / YYYY



        If you checked 17a, do NOT fill out or file Form 22C–2.
        If you checked 17b, fill out Form 22C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




 Official Form 22C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                      page 3
             Case 15-12430-amc
B 1D (Official Form 1, Exhibit D) (12/09)         Doc 1       Filed 04/08/15 Entered 04/08/15 16:41:30                                 Desc Main
                                                              Document Page 15 of 67

                                            UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF PENNSYLVANIA
                                                    EASTERN DIVISION

In re Nicholas V. Coppa                                                                                                   Case No.
                                                                                                                                        (if known)


                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
              Case 15-12430-amc
 B 1D (Official Form 1, Exhibit D) (12/09)          Doc 1       Filed 04/08/15 Entered 04/08/15 16:41:30                                  Desc Main
                                                                Document Page 16 of 67
               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ Nicholas V. Coppa
                                    Date:      4/ 7/2015
               Case 15-12430-amc
B6 Summary (Official Form 6 - Summary) (12/14)      Doc 1       Filed 04/08/15 Entered 04/08/15 16:41:30                                   Desc Main
                                                                Document Page 17 of 67


                                           UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF PENNSYLVANIA
                                                   EASTERN DIVISION
   In re Nicholas V. Coppa                                                                                                   Case No.
                                                                                                                             Chapter 13


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $              315,000.00

 B-Personal Property
                                             Yes                4        $                 3,229.00

 C-Property Claimed as
   Exempt
                                             Yes                2

 D-Creditors Holding Secured
   Claims
                                             Yes                2                                          $              289,080.72

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                3                                          $              35,160.68
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes               10                                          $              388,226.57

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                          $                5,497.00

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                          $                5,041.16

                                  TOTAL                       26         $              318,229.00 $                    712,467.97
               Case 15-12430-amc
B6 Summary (Official Form 6 - Summary) (12/14)       Doc 1        Filed 04/08/15 Entered 04/08/15 16:41:30                                  Desc Main
                                                                  Document Page 18 of 67


                                             UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF PENNSYLVANIA
                                                     EASTERN DIVISION
   In re Nicholas V. Coppa                                                                                                    Case No.
                                                                                                                              Chapter 13



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $   14,853.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $   20,307.68
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $   0.00
   Student Loan Obligations (from Schedule F)                                                                     $   39,231.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E              $   0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $   0.00
                                                                                                     TOTAL        $   74,391.68

 State the following:


   Average Income (from Schedule I, Line 12)                                                                          $   5,497.00
   Average Expenses (from Schedule J, Line 22)                                                                        $   5,041.16
   Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1 Line 14)                     $   8,333.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   0.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   25,317.05
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   9,843.63
   4. Total from Schedule F                                                                                                                      $   388,226.57
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   398,070.20
                Case 15-12430-amc
B6 Declaration (Official Form 6 - Declaration) (12/14)   Doc 1    Filed 04/08/15 Entered 04/08/15 16:41:30                                Desc Main
                                                                  Document Page 19 of 67

In re Nicholas V. Coppa                                                                                                      Case No.
                                                         Debtor                                                                                                   (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           27    sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   4/7/2015                                        Signature   /s/ Nicholas V. Coppa
                                                                          Nicholas V. Coppa




                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




    CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER                                                              (See 11.U.S.C. § 110)

I certify that I am a bankruptcy preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have provided the debtor
with a copy of this document.

Preparer:                                                                                            Social security No. :




Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.




X                                                                                                  Date:



A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.


     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
               Case 15-12430-amc
FORM B6A (Official Form 6A) (12/07)               Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30                             Desc Main
                                                          Document Page 20 of 67

In re Nicholas V. Coppa                                                                          ,                Case No.
                                      Debtor(s)                                                                                                (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


Residence   located  at   7  Line  Road, Fee Simple                                                          H      $315,000.00           $289,080.72
Malvern, PA 19355.    The value of this
property is $350,000. If the Debtor was
to sell this property he would incur
closing costs of approximately 10%, or
$35,000.   Accordingly, the value stated
is $315,000.00.




No continuation sheets attached                                                            TOTAL $                 315,000.00
                                                                    (Report also on Summary of Schedules.)
                   Case 15-12430-amc
B6B (Official Form 6B) (12/07)                            Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30                               Desc Main
                                                                  Document Page 21 of 67
In re Nicholas V. Coppa                                                                                   ,                  Case No.
                                                  Debtor(s)                                                                                                      (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                    N              Description and Location of Property                                                 Value
                                                                                                                                                of Debtor's Interest,
                                                   o                                                                        Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                   n                                                                                             Secured Claim or
                                                                                                                               Joint--J
                                                   e                                                                      Community--C               Exemption


1. Cash on hand.                                       Cash                                                                                                     $20.00
                                                       Location: In debtor's possession


2. Checking, savings or other financial                Checking Account with National bank of                                                                   $50.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building        Malvern, Account #XXX1996
   and loan, and homestead associations, or            Location: In debtor's possession
   credit unions, brokerage houses, or
   cooperatives.



                                                       Savings Account with National Bank of                                                                     $5.00
                                                       Malvern
                                                       Location: In debtor's possession


3. Security deposits with public utilities,        X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                    Household Goods comprised of 2 couches, 2                                                         $1,500.00
   including audio, video, and computer
   equipment.                                          televisions, stereo, DVD player, 4 book
                                                       cases, dining room table with 8 chairs,
                                                       kitchen table with 6 chairs, 3 beds, 6
                                                       dressers, 2 night stands, coffee table, 12
                                                       lamps, washer & dryer, microwave,
                                                       refrigerator, garden tools, lawn mower,
                                                       mechanic's tools, woodworking tools,
                                                       computer, printer, 4 desks, wicker furniture
                                                       and 2 upolstered chairs.
                                                       Location: In debtor's possession


5. Books, pictures and other art objects,              Books and Framed Prints comprised of                                                                  $350.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or              approximately 500 books and 5 framed prints
   collectibles.                                       Location: In debtor's possession



Page       1     of     4
                   Case 15-12430-amc
B6B (Official Form 6B) (12/07)                             Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30               Desc Main
                                                                   Document Page 22 of 67
In re Nicholas V. Coppa                                                                                   ,     Case No.
                                                   Debtor(s)                                                                                   (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                                                                                                   Current
               Type of Property                     N              Description and Location of Property                             Value
                                                                                                                              of Debtor's Interest,
                                                    o                                                           Husband--H    in Property Without
                                                                                                                    Wife--W      Deducting any
                                                    n                                                                          Secured Claim or
                                                                                                                   Joint--J
                                                    e                                                         Community--C         Exemption

6. Wearing apparel.                                     Wardrobe                                                                           $200.00
                                                        Location: In debtor's possession


7. Furs and jewelry.                                    Jewelry comprised of non-working watches and                                       $300.00
                                                        gold thimble
                                                        Location: In debtor's possession


8. Firearms and sports, photographic, and               Sports and Photographic Equipment comprised                                        $450.00
   other hobby equipment.
                                                        of two bicycles and one camera
                                                        Location: In debtor's possession


9. Interests in insurance policies. Name            X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and             Member's Interest - 60% member's interest in                                           $1.00
    unincorporated businesses. Itemize.
                                                        Nanomaterials Company, LLC. At the time of
                                                        the Debtor's divorce the value of this
                                                        company was $0.00.
                                                        Location: In debtor's possession


14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.




Page       2     of      4
                    Case 15-12430-amc
B6B (Official Form 6B) (12/07)                             Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30               Desc Main
                                                                   Document Page 23 of 67
In re Nicholas V. Coppa                                                                                   ,     Case No.
                                                   Debtor(s)                                                                                   (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                                                                                                   Current
                 Type of Property                   N              Description and Location of Property                             Value
                                                                                                                              of Debtor's Interest,
                                                    o                                                           Husband--H    in Property Without
                                                                                                                    Wife--W      Deducting any
                                                    n                                                                          Secured Claim or
                                                                                                                   Joint--J
                                                    e                                                         Community--C         Exemption

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual         Patent, with a co-inventor. The patent                                                 $1.00
    property. Give particulars.
                                                        number is 8,695,293, and it is titled as
                                                        "Control of the Particle Formation at the
                                                        Nanoscale." The Debtor is a co-inventor of
                                                        this patent with Robert J. Levis. This
                                                        patent is not currently generating any
                                                        revenue for the Debtor and will be valued at
                                                        $1.00.
                                                        Location: In debtor's possession


23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.

25. Automobiles, trucks, trailers and other             Automobile - 1997 Chevrolet Sububan with                                           $322.00
    vehicles and accessories.
                                                        approximately 335,000 miles in poor
                                                        condition
                                                        Location: In debtor's possession


26. Boats, motors, and accessories.                 X

27. Aircraft and accessories.                       X

28. Office equipment, furnishings, and              X
    supplies.

29. Machinery, fixtures, equipment and              X
    supplies used in business.

30. Inventory.                                      X



Page       3      of     4
                  Case 15-12430-amc
B6B (Official Form 6B) (12/07)                        Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30                          Desc Main
                                                              Document Page 24 of 67
In re Nicholas V. Coppa                                                                              ,              Case No.
                                              Debtor(s)                                                                                                (if known)


                                                   SCHEDULE B-PERSONAL PROPERTY
                                                                       (Continuation Sheet)

                                                                                                                                           Current
               Type of Property                N              Description and Location of Property                                          Value
                                                                                                                                      of Debtor's Interest,
                                               o                                                                    Husband--H        in Property Without
                                                                                                                        Wife--W          Deducting any
                                               n                                                                                       Secured Claim or
                                                                                                                       Joint--J
                                               e                                                                  Community--C             Exemption

31. Animals.                                       Animals - 3 cats of no particular pedigree                                                        $30.00
                                                   Location: In debtor's possession


32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page      4     of     4                                                                                       Total                            $3,229.00
                                                                                                                   (Report total also on Summary of Schedules.)
                                                                                                         Include amounts from any continuation sheets attached.
                Case 15-12430-amc
B6C (Official Form 6C) (04/13)                     Doc 1          Filed 04/08/15 Entered 04/08/15 16:41:30                       Desc Main
                                                                  Document Page 25 of 67

In re
        Nicholas V. Coppa                                                                          ,                  Case No.
                                       Debtor(s)                                                                                                      (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:              Check if debtor claims a homestead exemption that exceeds $155,675.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                         Specify Law                               Value of                  Current
             Description of Property                                    Providing each                             Claimed              Value of Property
                                                                          Exemption                               Exemption             Without Deducting
                                                                                                                                           Exemptions


Residence located at 7 Line                         11 USC 522(d)(1)                                              $ 22,975.00              $ 315,000.00
Road, Malvern, PA 19355. The                        11 USC 522(d)(5)                                               $ 1,118.00
value of this property is
$350,000. If the Debtor was
to sell this property he would
incur closing costs of
approximately 10%, or $35,000.
 Accordingly, the value stated
is $315,000.00.

Cash                                                11 USC 522(d)(5)                                                     $ 20.00                    $ 20.00

Checking Account with National                      11 USC 522(d)(5)                                                     $ 50.00                    $ 50.00
bank of Malvern, Account
#XXX1996

Savings Account with National                       11 USC 522(d)(5)                                                      $ 5.00                     $ 5.00
Bank of Malvern

Household Goods comprised of 2                      11 USC 522(d)(3)                                                $ 1,500.00                $ 1,500.00
couches, 2 televisions,
stereo, DVD player, 4 book
cases, dining room table with
8 chairs, kitchen table with 6
chairs, 3 beds, 6 dressers, 2
night stands, coffee table, 12
lamps, washer & dryer,
microwave, refrigerator,
garden tools, lawn mower,
mechanic's tools, woodworking
tools, computer, printer, 4
desks, wicker furniture and 2
upolstered chairs.



                                                                                             Subtotal:             $ 25,668.00             $ 316,575.00
    Page No.      1 of       2
                                                                                                 Total:
* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                Case 15-12430-amc
B6C (Official Form 6C) (04/13)                     Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30              Desc Main
                                                           Document Page 26 of 67

In re
        Nicholas V. Coppa                                                                  ,            Case No.
                                       Debtor(s)                                                                                    (if known)


                                 SCHEDULE C-PROPERTY CLAIMED AS EXEMPT
                                                                (Continuation Sheet)

                                                                  Specify Law                         Value of              Current
             Description of Property                             Providing each                       Claimed          Value of Property
                                                                   Exemption                         Exemption         Without Deducting
                                                                                                                          Exemptions


Books and Framed Prints                            11 USC 522(d)(3)                                      $ 350.00               $ 350.00
comprised of approximately 500
books and 5 framed prints

Wardrobe                                           11 USC 522(d)(3)                                      $ 200.00               $ 200.00

Jewelry comprised of non-                          11 USC 522(d)(4)                                      $ 300.00               $ 300.00
working watches and gold
thimble

Sports and Photographic                            11 USC 522(d)(3)                                      $ 450.00               $ 450.00
Equipment comprised of two
bicycles and one camera

Member's Interest - 60%                            11 USC 522(d)(5)                                         $ 1.00                $ 1.00
member's interest in
Nanomaterials Company, LLC. At
the time of the Debtor's
divorce the value of this
company was $0.00.

Patent, with a co-inventor.                        11 USC 522(d)(5)                                         $ 1.00                $ 1.00
The patent number is
8,695,293, and it is titled as
"Control of the Particle
Formation at the Nanoscale."
The Debtor is a co-inventor of
this patent with Robert J.
Levis. This patent is not
currently generating any
revenue for the Debtor and
will be valued at $1.00.

Automobile - 1997 Chevrolet                        11 USC 522(d)(2)                                      $ 322.00               $ 322.00
Sububan with approximately
335,000 miles in poor
condition

Animals - 3 cats of no                             11 USC 522(d)(5)                                       $ 30.00                $ 30.00
particular pedigree


                                                                                       Subtotal:      $ 1,654.00             $ 1,654.00
    Page No.      2 of       2
                                                                                          Total:      $27,322.00            $318,229.00
* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                 Case 15-12430-amc                   Doc 1             Filed 04/08/15 Entered 04/08/15 16:41:30                                          Desc Main
                                                                       Document Page 27 of 67

B6D (Official Form 6D) (12/07)



In re Nicholas V. Coppa                                                                              ,                                    Case No.
                                          Debtor(s)                                                                                                                               (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim
Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                            Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                     Unliquidated




              Including ZIP Code and
                                                                                                                     Contingent




                                                               Value of Property Subject to Lien                                       Deducting Value
                                                   Co-Debtor




                  Account Number
                                                                                                                     Disputed




              (See Instructions Above.)                        H--Husband                                                                 of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:   1377                                  X            2002-04-19                                                              $ 207,720.30                               $ 0.00
                                                                 Mortgage Lien
Creditor # : 1                                                   Residence located at 7 Line
Citimortgage Inc                                                 Road, Malvern, PA 19355
P.O. Box 9438
Gaithersburg MD 20898


                                                                  Value:   $ 315,000.00
Account No:   1377
                                                                  Robert W. Williams, Esquire
Representing:                                                     Milstead & Associates, LLC
                                                                  220 Lake Drive East, Suite 301
Citimortgage Inc                                                  Cherry Hill NJ 08002


                                                                  Value:

1      continuation sheets attached                                                                             Subtotal $               $ 207,720.30                                $ 0.00
                                                                                                             (Total of this page)
                                                                                                                      Total $
                                                                                                         (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report also on
                                                                                                                                    Schedules.)                  Statistical Summary of
                                                                                                                                                                 Certain Liabilities and
                                                                                                                                                                 Related Data)
                 Case 15-12430-amc                  Doc 1             Filed 04/08/15 Entered 04/08/15 16:41:30                                            Desc Main
                                                                      Document Page 28 of 67

B6D (Official Form 6D) (12/07)   - Cont.



In re Nicholas V. Coppa                                                                               ,                                    Case No.
                                           Debtor(s)                                                                                                                               (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                               (Continuation Sheet)


                Creditor's Name and                           Date Claim was Incurred, Nature                                           Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                             Without                   Portion, If Any




                                                                                                                      Unliquidated
              Including ZIP Code and




                                                                                                                      Contingent
                                                              Value of Property Subject to Lien                                         Deducting Value
                                                  Co-Debtor


                  Account Number




                                                                                                                      Disputed
              (See Instructions Above.)                       H--Husband                                                                   of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:   1377
                                                                 Seterus, Inc.
Representing:                                                    P.O. Box 2008
                                                                 Grand Rapids MI 49501-2008
Citimortgage Inc


                                                                 Value:

Account No:   0152                                              3/31/2014                                                                   $ 75,455.52                              $ 0.00
                                                                Mortgage Lien
Creditor # : 2                                                  Residence located at 7 Line
National Bank of Malvern                                        Road, Malvern, PA 19355
2 South Warren Avenue
Malvern PA 19355


                                                                 Value:   $ 315,000.00
Account No:   0152
                                                                 William L. Howard, Esquire
Representing:                                                    18 West King Street
                                                                 Malvern PA 19355
National Bank of Malvern


                                                                 Value:

Account No:   9857                                                                                                                            $ 5,904.90                             $ 0.00
                                                                Tax Lien
Creditor # : 3                                                  Residence located at 7 Line
Pennsylvania Department of                                      Road, Malvern, PA 19355
Revenue
Bankruptcy Division
P.O. Box 280946
Harrisburg PA 17128-0946
                                                                 Value:   $ 315,000.00
Account No:




                                                                 Value:

Sheet no. 1        of 1      continuation sheets attached to Schedule of Creditors                               Subtotal $                 $ 81,360.42                               $ 0.00
Holding Secured Claims                                                                                        (Total of this page)
                                                                                                                       Total $            $ 289,080.72                                $ 0.00
                                                                                                          (Use only on last page)
                                                                                                                                     (Report also on Summary of   (If applicable, report also on
                                                                                                                                     Schedules.)                  Statistical Summary of
                                                                                                                                                                  Certain Liabilities and
                                                                                                                                                                  Related Data)
                Case 15-12430-amc
B6E (Official Form 6E) (04/13)                          Doc 1        Filed 04/08/15 Entered 04/08/15 16:41:30                                        Desc Main
                                                                     Document Page 29 of 67
In re Nicholas V. Coppa                                                                                  ,                             Case No.
                                            Debtor(s)                                                                                                            (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
     (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      2 No continuation sheets attached
                 Case 15-12430-amc
Official Form 6E (04/13) - Cont.                          Doc 1             Filed 04/08/15 Entered 04/08/15 16:41:30                                              Desc Main
                                                                            Document Page 30 of 67

In re Nicholas V. Coppa                                                                                                   ,                            Case No.
                                             Debtor(s)                                                                                                                        (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:          Domestic Support Obligations

     Creditor's Name, Mailing Address                                    Date Claim was Incurred and                                             Amount of     Amount       Amount not
                                                                           Consideration for Claim                                                Claim       Entitled to   Entitled to
               Including ZIP Code,                                                                                                                             Priority      Priority,




                                                                                                                                  Unliquidated
                                                                                                                                  Contingent
              and Account Number                                                                                                                                              if any

                                                     Co-Debtor




                                                                                                                                  Disputed
                                                                 H--Husband
              (See instructions above.)                          W--Wife
                                                                 J--Joint
                                                                 C--Community

       8598
Account No:                                                        2013-07-08                                                             X $ 14,853.00 $ 14,853.00               $ 0.00
Creditor # : 1                                                     Child Support
Chester County DRS
117 W Gay St
West Chester PA 19380




Account No:




Account No:




Account No:




Account No:




Sheet No.                                                                                                                     Subtotal $         14,853.00    14,853.00             0.00
               1 of         2      continuation sheets                                                                  (Total of this page)
attached to Schedule of Creditors Holding Priority Claims                                                                        Total $
                                                                   (Use only on last page of the com pleted Schedule E. Report total also
                                                                                                             on Sum m ary of Schedules)

                                                                                                                                 Total $
                                                                      (Use only on last page of the com pleted Schedule E. If applicable,
                                                                        report also on the Statistical Sum m ary of Certain Liabilities and
                 Case 15-12430-amc
Official Form 6E (04/13) - Cont.                          Doc 1             Filed 04/08/15 Entered 04/08/15 16:41:30                                               Desc Main
                                                                            Document Page 31 of 67

In re Nicholas V. Coppa                                                                                                   ,                             Case No.
                                             Debtor(s)                                                                                                                         (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:          Taxes and Certain Other Debts Owed to Governmental Units

     Creditor's Name, Mailing Address                                    Date Claim was Incurred and                                              Amount of     Amount       Amount not
                                                                           Consideration for Claim                                                 Claim       Entitled to   Entitled to
               Including ZIP Code,                                                                                                                              Priority      Priority,




                                                                                                                                  Unliquidated
                                                                                                                                  Contingent
              and Account Number                                                                                                                                               if any

                                                     Co-Debtor




                                                                                                                                  Disputed
                                                                 H--Husband
              (See instructions above.)                          W--Wife
                                                                 J--Joint
                                                                 C--Community

        9857
Account No:                                                        2008-11                                                                       $ 20,307.68 $ 10,464.05 $ 9,843.63
Creditor # : 2                                                     Personal Income Tax
Pennsylvania Department of
Revenue
Bankruptcy Division
P.O. Box 280946
Harrisburg PA 17128-0946


Account No:




Account No:




Account No:




Account No:




Sheet No.                                                                                                                     Subtotal $          20,307.68    10,464.05        9,843.63
               2 of         2      continuation sheets                                                                  (Total of this page)
attached to Schedule of Creditors Holding Priority Claims                                                                        Total $
                                                                   (Use only on last page of the com pleted Schedule E. Report total also         35,160.68
                                                                                                             on Sum m ary of Schedules)

                                                                                                                                 Total $
                                                                      (Use only on last page of the com pleted Schedule E. If applicable,                      25,317.05        9,843.63
                                                                        report also on the Statistical Sum m ary of Certain Liabilities and
                Case 15-12430-amc                  Doc 1              Filed 04/08/15 Entered 04/08/15 16:41:30                                                                               Desc Main
                                                                      Document Page 32 of 67
B6F (Official Form 6F) (12/07)


In re Nicholas V. Coppa                                                                                          ,                                   Case No.
                                         Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                            Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                   Unliquidated
                  including Zip Code,
                                                       Co-Debtor




                                                                                                                                                     Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                  Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          9857
Account No:                                                            1999                                                                                                                           $ 1,848.67
Creditor # : 1                                                         Credit Card Charges
American Express
c/o Becket and Lee, LLP
P.O. Box 3001
Malvern PA 19355


          3007
Account No:                                                            9/8/2006                                                                                                                       $ 6,628.92
Creditor # : 2                                                         Credit Card Charges
American Express
c/o Becket and Lee, LLP
P.O. Box 3001
Malvern PA 19355


          2293
Account No:                                                            1999-01-12                                                                                                                     $ 1,200.00
Creditor # : 3                                                         Credit Card Charges
American Express
P. O. Box 297871
Fort Lauderdale FL 33329



     9 continuation sheets attached                                                                                                                Subtotal $                                         $ 9,677.59
                                                                                                                                                                  Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                Case 15-12430-amc                  Doc 1               Filed 04/08/15 Entered 04/08/15 16:41:30                                                                               Desc Main
                                                                       Document Page 33 of 67
B6F (Official Form 6F) (12/07)   - Cont.


In re Nicholas V. Coppa                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                            Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,

                                                        Co-Debtor




                                                                                                                                                      Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     2293
Representing:                                                           Thomas A. Lee III, Esquire
                                                                        Becket and Lee, LLP
                                                                        16 General Warren Boulevard
American Express                                                        Malvern PA 19355



          3093
Account No:                                                             1999-01-13                                                                                                                     $ 3,483.06
Creditor # : 4                                                          Credit Card Charges
American Express
P. O. Box 297871
Fort Lauderdale FL 33329



Account No:     3093
Representing:                                                           Thomas A. Lee III, Esquire
                                                                        Becket and Lee, LLP
                                                                        16 General Warren Boulevard
American Express                                                        Malvern PA 19355



Account No:                                                             1996                                                                                                                               $ 98.29
Creditor       # : 5                                                    telephone service
American       InfoSource, LP
as Agent       for Verizon
P.O. Box       248838
Oklahoma       City OK 73124-8838


Account No:                                                             1996                                                                                                                               $ 83.93
Creditor       # : 6                                                    telephone service
American       InfoSource, LP
as Agent       for Verizon
P.O. Box       248838
Oklahoma       City OK 73124-8838




Sheet No.      1 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                         $ 3,665.28
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                Case 15-12430-amc                  Doc 1               Filed 04/08/15 Entered 04/08/15 16:41:30                                                                               Desc Main
                                                                       Document Page 34 of 67
B6F (Official Form 6F) (12/07)   - Cont.


In re Nicholas V. Coppa                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                            Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,

                                                        Co-Debtor




                                                                                                                                                      Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                             1996                                                                                                                              $ 269.70
Creditor       # : 7                                                    telephone service
American       InfoSource, LP
as Agent       for Verizon
P.O. Box       248838
Oklahoma       City OK 73124-8838


Account No:                                                             2013                                                                                                                           $ 4,980.00
Creditor # : 8                                                          Personal Loan
Anthony J. Coppa
122 Clearfield Avenue
Norristown PA 19403-1658



Account No:                                                             2013                                                                                                                          $ 10,000.00
Creditor # : 9                                                          Personal Loan
Anthony P. Coppa
784 South Highland Avenue
Merion Station PA 19066



Account No:                                                             10/1996                                                                                                                           $ 249.23
Creditor # : 10                                                         telephone services
Cerastes, LLC
c/o Weinstein, Pinson & Riley,
2001 Western Avenue, Suite 400
Seattle WA 98121


          6676
Account No:                                                             2003-03-26                                                                                                                     $ 2,741.00
Creditor # : 11                                                         Credit Card Charges
Chase
P.O. Box 15298
Wilmington DE 19850




Sheet No.      2 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 18,239.93
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                Case 15-12430-amc                  Doc 1               Filed 04/08/15 Entered 04/08/15 16:41:30                                                                               Desc Main
                                                                       Document Page 35 of 67
B6F (Official Form 6F) (12/07)   - Cont.


In re Nicholas V. Coppa                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                            Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,

                                                        Co-Debtor




                                                                                                                                                      Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          3036
Account No:                                                             2002-05-10                                                                                                                     $ 4,363.00
Creditor # : 12                                                         Credit Card Charges
Chase
P.O. Box 15298
Wilmington DE 19850



          1495
Account No:                                                                                                                                                                                            $ 5,248.12
Creditor # : 13                                                         Credit Card Charges
Citi
P.O. Box 183113
Columbus OH 43218



Account No:                                                             2013                                                                                                         X                $ 60,000.00
Creditor # : 14                                                         Lawsuit
Daniel Wiant
c/o Karen Eichman, Esquire
102 East State Street
Kennett Square PA 19348


Account No:                                                             2013                                                                                                                           $ 4,980.00
Creditor # : 15                                                         Personal Loan
David C. Coppa
38 Hillside Avenue
Upper Darby PA 19082



          4746
Account No:                                                             3/15/2009                                                                                                                     $ 20,690.48
Creditor # : 16                                                         Tuition
Devon Preparatory School
363 North Valley Forge Road
Devon PA 19333-1299




Sheet No.      3 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 95,281.60
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                Case 15-12430-amc                  Doc 1               Filed 04/08/15 Entered 04/08/15 16:41:30                                                                               Desc Main
                                                                       Document Page 36 of 67
B6F (Official Form 6F) (12/07)   - Cont.


In re Nicholas V. Coppa                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                            Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,

                                                        Co-Debtor




                                                                                                                                                      Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          6771
Account No:                                                             2004-03-21                                                                                                                     $ 6,170.00
Creditor # : 17                                                         Credit Card Charges
Discover Fin Svcs LLC
P. O. Box 15316
Wilmington DE 19850



Account No:                                                             2013                                                                                                                           $ 4,980.00
Creditor # : 18                                                         Personal Loan
Felicia Coffey
2403 Merwood Lane
Havertown PA 19083



Account No:                                                             2013                                                                                                                          $ 10,000.00
Creditor # : 19                                                         Personal Loan
Frank Topper
50 Belardo
Apartment 10
Greenbrae CA 94904


Account No:                                                             2013                                                                                                                           $ 4,980.00
Creditor # : 20                                                         Personal Loan
Jean Milani
719 Harper Avenue
Drexel Hill PA 19026



Account No:                                                             2013                                                                                                                           $ 4,980.00
Creditor # : 21                                                         Personal Loan
Joan Drennen
171 Warwick Road
Elverson PA 19520




Sheet No.      4 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 31,110.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                Case 15-12430-amc                  Doc 1               Filed 04/08/15 Entered 04/08/15 16:41:30                                                                               Desc Main
                                                                       Document Page 37 of 67
B6F (Official Form 6F) (12/07)   - Cont.


In re Nicholas V. Coppa                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                            Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,

                                                        Co-Debtor




                                                                                                                                                      Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                             2013                                                                                                                           $ 4,980.00
Creditor # : 22                                                         Personal Loan
Justin J. Coppa
148 Ginger Avenue
Birdsboro PA 19508



Account No:                                                             4/17/2013                                                                                                    X                $ 80,000.00
Creditor # : 23                                                         Equitable Distribution
Kristine C. Howard
137 Chaning Avenue
Malvern PA 19355



          3306
Account No:                                             X J             2010-12-28                                                                       X                                             $ 3,207.00
Creditor # : 24                                                         Student Loan
Sallie Mae
P.O. Box 9655
Wilkes Barre PA 18773



Account No:     3306
Representing:                                                           National Enterprise Systems
                                                                        29125 Solon Road
                                                                        Solon OH 44139-3442
Sallie Mae



Account No:     3306
Representing:                                                           Navient Solutions, Inc.
                                                                        P.O. Box 9640
                                                                        Wilkes Barre PA 18773-9640
Sallie Mae




Sheet No.      5 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 88,187.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                Case 15-12430-amc                  Doc 1                Filed 04/08/15 Entered 04/08/15 16:41:30                                                                               Desc Main
                                                                        Document Page 38 of 67
B6F (Official Form 6F) (12/07)   - Cont.


In re Nicholas V. Coppa                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                            Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                  including Zip Code,

                                                        Co-Debtor




                                                                                                                                                       Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          9898
Account No:                                             X J             2010-10-28                                                                        X                                             $ 5,064.00
Creditor # : 25                                                         Student Loan
Sallie Mae
P.O. Box 9655
Wilkes Barre PA 18773



          3314
Account No:                                             X J             2011-03-18                                                                        X                                             $ 8,599.00
Creditor # : 26                                                         Student Loan
Sallie Mae
P.O. Box 9655
Wilkes Barre PA 18773



Account No:     3314
Representing:                                                           National Enterprise Systems
                                                                        29125 Solon Road
                                                                        Solon OH 44139-3442
Sallie Mae



          5510
Account No:                                                         J   2011-03-10                                                                        X                                            $ 10,787.00
Creditor # : 27                                                         Student Loan
Sallie Mae
Po Box 9655
Wilkes Barre PA 18773



Account No:     5510
Representing:                                                           Enterprise Recovery Systems
                                                                        2000 York Road
                                                                        Suite 114
Sallie Mae                                                              Oak Brook IL 60523




Sheet No.      6 of        9 continuation sheets attached to Schedule of                                                                             Subtotal $                                        $ 24,450.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                Case 15-12430-amc                  Doc 1               Filed 04/08/15 Entered 04/08/15 16:41:30                                                                               Desc Main
                                                                       Document Page 39 of 67
B6F (Official Form 6F) (12/07)   - Cont.


In re Nicholas V. Coppa                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                            Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,

                                                        Co-Debtor




                                                                                                                                                      Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          3298
Account No:                                             X               2010-09-21                                                                       X                                            $ 11,574.00
Creditor # : 28                                                         Student Loan
Sallie Mae
P.O. Box 9655
Wilkes Barre PA 18773



Account No:     3298
Representing:                                                           National Enterprise Systems
                                                                        29125 Solon Road
                                                                        Solon OH 44139-3442
Sallie Mae



          5337
Account No:                                                             7/29/2014                                                                                                                     $ 33,013.90
Creditor # : 29                                                         Tuition
St. Aolysius Academy
401 S. Bryn Mawr Avenue
Bryn Mawr PA 19010



Account No:     5337
Representing:                                                           Grimley Financial
                                                                        30 Washington Avenue
                                                                        Suite C-6
St. Aolysius Academy                                                    Haddonfield NJ 08033-3341



          6854
Account No:                                                             2004-10-13                                                                                                                     $ 6,604.00
Creditor # : 30                                                         Credit Card Charges
State Farm Financial Services
3 State Farm Plaza N-4
Bloomington IL 61791




Sheet No.      7 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 51,191.90
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                Case 15-12430-amc                  Doc 1               Filed 04/08/15 Entered 04/08/15 16:41:30                                                                               Desc Main
                                                                       Document Page 40 of 67
B6F (Official Form 6F) (12/07)   - Cont.


In re Nicholas V. Coppa                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                            Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,

                                                        Co-Debtor




                                                                                                                                                      Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     6854
Representing:                                                           IC System
                                                                        444 Highway 96 East
                                                                        P.O. Box 64378
State Farm Financial Services                                           Saint Paul MN 55164-0378



Account No:     6854
Representing:                                                           Thomas A. Lee III, Esquire
                                                                        Becket and Lee, LLP
                                                                        P.O. Box 3001
State Farm Financial Services                                           Malvern PA 19355



Account No:                                                                                                                                                                                           $ 45,249.35
Creditor # : 31                                                         Guarantor
TD Bank, N.A.
c/o Jack Seitz, Esquire
7535 Windsor Drive
Allentown PA 18195-1034


          7524
Account No:                                                             2011-10-07                                                                                                   X                    $ 227.00
Creditor # : 32                                                         telephone service
Verizon Pennsylvania
P.O. Box 11328
Saint Petersburg FL 33733



Account No:     7524
Representing:                                                           MIDLAND FUNDING
                                                                        8875 AERO DR STE 200
                                                                        SAN DIEGO CA 92123
Verizon Pennsylvania




Sheet No.      8 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 45,476.35
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                Case 15-12430-amc                  Doc 1               Filed 04/08/15 Entered 04/08/15 16:41:30                                                                               Desc Main
                                                                       Document Page 41 of 67
B6F (Official Form 6F) (12/07)   - Cont.


In re Nicholas V. Coppa                                                                                           ,                                   Case No.
                                           Debtor(s)                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                            Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,

                                                        Co-Debtor




                                                                                                                                                      Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          8167
Account No:                                                             6/17/2014                                                                                                                     $ 20,946.92
Creditor # : 33                                                         Tuition
Villa Maria Academy
370 Old Lincoln Highway
Malvern PA 19355



Account No:     8167
Representing:                                                           Grimley Financial
                                                                        30 Washington Avenue
                                                                        Suite C-6
Villa Maria Academy                                                     Haddonfield NJ 08033-3341



Account No:




Account No:




Account No:




Sheet No.      9 of        9 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 20,946.92
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                     $ 388,226.57
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                Case 15-12430-amc
B6G (Official Form 6G) (12/07)                        Doc 1       Filed 04/08/15 Entered 04/08/15 16:41:30                                      Desc Main
                                                                  Document Page 42 of 67

In re Nicholas V. Coppa                                                                                        / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




                                                                                                                                                         Page      1 of          1
                Case 15-12430-amc
B6H (Official Form 6H) (12/07)                      Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30                      Desc Main
                                                            Document Page 43 of 67

In re Nicholas V. Coppa                                                                       / Debtor         Case No.
                                                                                                                                            (if known)


                                                      SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor

Kristine Howard                                                           Citimortgage Inc
137 Channing Street                                                       P.O. Box 9438
Malvern PA 19355                                                          Gaithersburg MD 20898

Rebecca Coppa                                                             Sallie Mae
7 Line Road                                                               P.O. Box 9655
Malvern PA 19355                                                          Wilkes Barre PA            18773

                                                                          Sallie Mae
                                                                          P.O. Box 9655
                                                                          Wilkes Barre PA            18773

                                                                          Sallie Mae
                                                                          P.O. Box 9655
                                                                          Wilkes Barre PA            18773

                                                                          Sallie Mae
                                                                          P.O. Box 9655
                                                                          Wilkes Barre PA            18773




                                                                                                                                  Page    1 of       1
               Case 15-12430-amc                Doc 1     Filed 04/08/15 Entered 04/08/15 16:41:30                              Desc Main
                                                          Document Page 44 of 67
 Fill in this information to identify your case:

                     Nicholas V. Coppa
 Debtor 1           ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name

                                           EASTERN
  United States Bankruptcy Court for the: ________________              PENNSYLVANIA
                                                           District of ______________________

 Case number         ___________________________________________                                     Check if this is:
  (If known)
                                                                                                      An amended filing
                                                                                                      A supplement showing post-petition
                                                                                                        chapter 13 income as of the following date:
                                                                                                        ________________
Official Form %6I                                                                                      MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔
    information about additional         Employment status             Employed                                         Employed
    employers.                                                         Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
                                                                    Consultant
                                                                    __________________________________            __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name             Temple University
                                                                    __________________________________            __________________________________


                                         Employer’s address         1801 North Broad Street
                                                                   _______________________________________       ________________________________________
                                                                    Number Street                                  Number   Street

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________

                                                                     Philadelphia       PA         19122
                                                                   _______________________________________       ________________________________________
                                                                    City            State  ZIP Code                City                State ZIP Code

                                         How long employed there?         _______
                                                                          1 month                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.           8333.00                   0.00
                                                                                                $___________          $____________

 3. Estimate and list monthly overtime pay.                                            3.             0.00
                                                                                             + $___________       +           0.00
                                                                                                                      $____________


 4. Calculate gross income. Add line 2 + line 3.                                       4.           8333.00
                                                                                                $__________                   0.00
                                                                                                                      $____________



Official Form %6I                                              Schedule I: Your Income                                                       page 1
            Case 15-12430-amc                             Doc 1           Filed 04/08/15 Entered 04/08/15 16:41:30                                        Desc Main
                  Nicholas V. Coppa
                                                                          Document Page 45 of 67
Debtor 1         _______________________________________________________                                                 Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name



                                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                                             non-filing spouse

   Copy line 4 here............................................................................................ Î 4.         8333.00
                                                                                                                         $___________                     0.00
                                                                                                                                                 $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                          5a.          1660.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5b. Mandatory contributions for retirement plans                                                           5b.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5c. Voluntary contributions for retirement plans                                                           5c.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5d. Required repayments of retirement fund loans                                                           5d.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5e. Insurance                                                                                              5e.           290.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5f. Domestic support obligations                                                                           5f.           886.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
                                                                                                                                0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5g. Union dues                                                                                             5g.
     5h. Other deductions. Specify: __________________________________                                          5h.              0.00
                                                                                                                       + $____________       +             0.00
                                                                                                                                                 $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                   6.         2836.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                          7.         5497.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                      0.00
                                                                                                                        $____________            $_____________
           monthly net income.                                                                                  8a.
     8b. Interest and dividends                                                                                 8b.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                      0.00
                                                                                                                        $____________            $_____________
           settlement, and property settlement.                                                                 8c.
     8d. Unemployment compensation                                                                              8d.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8e. Social Security                                                                                        8e.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                                 0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                           8g.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

     8h. Other monthly income. Specify: _______________________________                                         8h.    + $____________
                                                                                                                                 0.00                   0.00
                                                                                                                                             + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                        9.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

10. Calculate monthly income. Add line 7 + line 9.                                                                          5,497.00                                  5497.00
                                                                                                                        $___________     +                0.00 = $_____________
                                                                                                                                                 $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                   10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11.               0.00
                                                                                                                                                                     + $_____________
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             5497.00
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                               12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔
          No.
          Yes. Explain:


Official Form %6I                                                                Schedule I: Your Income                                                                 page 2
 Case 15-12430-amc                  Doc 1    Filed 04/08/15 Entered 04/08/15 16:41:30                          Desc Main
                                             Document Page 46 of 67


 Fill in this information to identify your case:

 Debtor 1              Nicholas V. Coppa
                       First Name                  Middle Name            Last Name

 Debtor 2
 (Spouse, if filing)   First Name                  Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN        District of PENNSYLVANIA
 Case Number
 (if known)

 Form B 6I Schedule I: Your Income – Continuation Page
 All figures below are included in the total on Line 12 of Schedule I
 1. Additional employment information.

                                                     Debtor 1                                 Debtor 2 or non-filing spouse
 Occupation (2)                                      Scientist

 Employer’s name                                     Nanomaterials Company, LLC

 Employer’s address                                  15 North Bacton Hill Road
                                                     Number Street                            Number     Street



                                                     Malvern        PA                19355
                                                     City, State and Zip                      City, State and Zip

 How long employed there?                            15 years

 Occupation (3)
 Employer’s name
 Employer’s address
                                                     Number      Street                       Number     Street




                                                     City, State and Zip                      City, State and Zip

How long employed there?


5h. Other deductions
      Specify:
      Specify:

 8f. Other government assistance that you regularly receive
       Specify:
       Specify:
 8h. Other monthly income
      Specify:
      Specify:
 11. Other regular contributions to the expenses that you list in Schedule J
       Specify:
       Specify:




 Form B 6I Continuation Page                                                                                          Page 1
               Case 15-12430-amc                  Doc 1      Filed 04/08/15 Entered 04/08/15 16:41:30                                 Desc Main
                                                             Document Page 47 of 67
  Fill in this information to identify your case:

  Debtor 1           Nicholas V. Coppa
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                      Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                      An amended filing
                                         EASTERN                        PENNSYLVANIA
                                                                                                      A supplement showing post-petition chapter 13
  United States Bankruptcy Court for the:___________________District of___________________
                                                                                                         expenses as of the following date:
                                                                                                         ________________
  Case number         ___________________________________________                                        MM / DD / YYYY
  (If known)
                                                                                                      A separate filing for Debtor 2 because Debtor 2
                                                                                                         maintains a separate household
Official Form %6J
Schedule J: Your Expenses                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                 
                                            ✔   Yes. Fill out this information for Debtor 1 or Debtor 2                    age            with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                                   Daughter                    14             No
                                                                                         _________________________         ________
   names.                                                                                                                                 
                                                                                                                                          ✔   Yes
                                                                                             Son
                                                                                  _________________________                   12
                                                                                                                           ________          No
                                                                                                                                          
                                                                                                                                          ✔   Yes

                                                                                  _________________________                ________          No
                                                                                                                                             Yes

                                                                                  _________________________                ________          No
                                                                                                                                             Yes

                                                                                  _________________________                ________          No
                                                                                                                                             Yes

3. Do your expenses include                 ✔
                                               No
   expenses of people other than
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                          2150.00
                                                                                                                             $_____________________
     any rent for the ground or lot.                                                                                 4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                        4a.
                                                                                                                                              0.00
                                                                                                                             $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                             4b.
                                                                                                                                              0.00
                                                                                                                             $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                            4c.                    200.00
                                                                                                                             $_____________________
     4d.    Homeowner’s association or condominium dues                                                              4d.                      0.00
                                                                                                                             $_____________________

Official Form %6J                                            Schedule J: Your Expenses                                                         page 1
             Case 15-12430-amc                  Doc 1          Filed 04/08/15 Entered 04/08/15 16:41:30                     Desc Main
                                                               Document Page 48 of 67
                  Nicholas V. Coppa
 Debtor 1        _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                    656.16
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.
                                                                                                                                    230.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.                   115.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                   285.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.                     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.                    700.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.                      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.                    125.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.                     0.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.                     0.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.                                                                    450.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.
                                                                                                                                      0.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.                     0.00
                                                                                                                     $_____________________

15.   Insurance.                                                                                                                                    1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.                    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.                  130.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.                    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.                    0.00
                                                                                                                     $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                               19.                    0.00
      Specify:_______________________________________________________                                                $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20a. Mortgages on other property                                                                        20a.

      20b. Real estate taxes                                                                                  20b.
                                                                                                                                      0.00
                                                                                                                     $_____________________
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                      0.00
                                                                                                                     $_____________________
      20d. Maintenance, repair, and upkeep expenses                                                           20d.

      20e. Homeowner’s association or condominium dues                                                        20e.                    0.00
                                                                                                                     $_____________________



 Official Form %6J                                            Schedule J: Your Expenses                                                   page 2
                Case 15-12430-amc               Doc 1         Filed 04/08/15 Entered 04/08/15 16:41:30                         Desc Main
                                                              Document Page 49 of 67
                   Nicholas V. Coppa
 Debtor 1         _______________________________________________________                     Case number (if known)_____________________________________
                  First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                         21.                    0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                                5041.16
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                      5497.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                  5041.16
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                       455.84
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      ✔   No.
         Yes.      Explain here:




 Official Form %6J                                           Schedule J: Your Expenses                                                       page 3
                Case
 B 7 (Official Form      15-12430-amc
                    7) (4/13)                      Doc 1       Filed 04/08/15 Entered 04/08/15 16:41:30                                   Desc Main
                                                               Document Page 50 of 67
                                           UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF PENNSYLVANIA
                                                   EASTERN DIVISION

In re: Nicholas V. Coppa                                                                                  ,           Case No.
                                               Debtor                                                                                      (if known)




                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporation debtor
and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(2), (31).




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date:$24,999                                     Temple University
   Last Year:$24,999                                     Temple University
Year before:($44,334)                                    Loss with Nanomateials Company, LLC


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)




                                                                                                                   Statement of Affairs - Page 1
                Case
 B7 - (Official Form     15-12430-amc
                     7) (4/13)                          Doc 1        Filed 04/08/15 Entered 04/08/15 16:41:30                                          Desc Main
                                                                     Document Page 51 of 67
           3. Payments to creditors
 None      Complete a. or b., as appropriate, and c.

           a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
           creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
           affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
           obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
           filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                                DATES OF                                                               AMOUNT
                                                                            PAYMENTS                      AMOUNT PAID                              STILL OWING

* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

Creditor:Seterus, Inc.                                                      4/7/2015                      $1,907.78                                $207,500.00
Address:P.O. Box 11790, Newark,
NJ 07101


 None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
           commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is
           an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
           repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
           must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)


           * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




 None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
           were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
           unless the spouses are separated and a joint petition is not filed.)


NAME AND ADDRESS OF CREDITOR AND                                                      DATE OF                          AMOUNT PAID                     AMOUNT
RELATIONSHIP TO DEBTOR                                                                PAYMENT                                                          STILL OWING

Creditor: Jim & Felicia Coffey                                                        July/August                      $1,300.00                       $0.00
Address:2403 Merwood Lane,                                                            , 2014
Havertown, PA 19083-1505
Relationship:Sister and Brother-in-
law


           4. Suits and administrative proceedings, executions, garnishments and attachments
 None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
           (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
           the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                 NATURE OF                                      COURT OR AGENCY
AND CASE NUMBER                                 PROCEEDING                                       AND LOCATION                                 STATUS OR DISPOSITION

Harold and Valerie                              Landlord/Tenant                                Chester County,                                Stayed
Sheinbach and                                                                                  Pennsylvania Court
Frazer Industrial                                                                              of Common Pleas
park

v.

Nanomaterials
Company, LLC and
Nicholas V. Coppa


                                                                                                                            Statement of Affairs - Page 2
               Case
B7 - (Official Form     15-12430-amc
                    7) (4/13)                 Doc 1       Filed 04/08/15 Entered 04/08/15 16:41:30                                Desc Main
                                                          Document Page 52 of 67
CAPTION OF SUIT                         NATURE OF                                 COURT OR AGENCY
AND CASE NUMBER                         PROCEEDING                                  AND LOCATION                            STATUS OR DISPOSITION

Case #13-12101


National Bank of                        Mortgage                                  Chester County,                           Stayed
Malvern                                 Foreclosure                               Pennsylvania Court
                                                                                  of Common Pleas
v.

Nicholas V. Coppa

Case #14-07499


TD Bank                                 Confession of                             Chester County,                           Stayed
                                        Judgment                                  Pennsylvania
v.                                                                                Court of Common
                                                                                  Pleas
Nicholas V. Coppa

Case #13-02676


Kristine Howard                         Divorce                                   Chester County,                           Divorce has been
                                                                                  Pennsylvania                              entered, however,
v.                                                                                Court of Common                           custody-related
                                                                                  Pleas                                     matters continue
Nicholas V. Coppa

Case #13-03260


CitiMortgage                            Mortgage                                  Chester County,                           Stayed
                                        Foreclosure                               Pennsylvania
v.                                                                                Court of Common
                                                                                  Pleas
Nicholas V. Coppa
and
Kristine Howard

Case #13-12653


Kim S. Paul, Dean                       Breach of Contract                        Chester County,                           Case was dismissed
M. Lusky and Karl                                                                 Pennsylvania Court                        against the Debtor
V. Chandler                                                                       of Common Pleas


None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


NAME AND ADDRESS OF PERSON FOR                                      DATE OF
WHOSE BENEFIT PROPERTY WAS SEIZED                                   SEIZURE                   DESCRIPTION AND VALUE OF PROPERTY

Name:Kristine Howard                                                7/31/2014                 Description:Checking Account
Address:137 Channing Avenue,                                                                  Value:$112.00. These funds were
Malvern, PA 19355                                                                             taken by Chester County Domestic
                                                                                              Relations on Septmber 4, 2014, at a

                                                                                                            Statement of Affairs - Page 3
               Case
B7 - (Official Form     15-12430-amc
                    7) (4/13)                    Doc 1        Filed 04/08/15 Entered 04/08/15 16:41:30                                     Desc Main
                                                              Document Page 53 of 67
NAME AND ADDRESS OF PERSON FOR                                           DATE OF
WHOSE BENEFIT PROPERTY WAS SEIZED                                        SEIZURE                    DESCRIPTION AND VALUE OF PROPERTY

                                                                                                    time when the automatic stay was in
                                                                                                    place.


       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
       family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
       (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)




       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
        this case.

                                                       DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                              NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Robert J. Lohr II                               Date of Payment:4/7/2015                                     $575.00
Address:                                               Payor: Nicholas V. Coppa
1246 West Chester Pike
Suite 312
West Chester, PA 19382


Payee:Debtorcc                                         Date of Payment:2/23/2015                                    $9.95
Address:378 Summit Avenue,                             Payor:Debtor
Jersey City, NJ 07036

                                                                                                                   Statement of Affairs - Page 4
               Case
B7 - (Official Form     15-12430-amc
                    7) (4/13)                      Doc 1        Filed 04/08/15 Entered 04/08/15 16:41:30                                    Desc Main
                                                                Document Page 54 of 67

       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
       or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS
OF TRANSFEREE,                                                 DATE                   DESCRIBE PROPERTY TRANSFERRED AND VALUE RECEIVED
RELATIONSHIP TO DEBTOR

Transferee:WRTI                                                12/2014                Property:1995 Ford Taurus - inoperable
Address:1509 Cecil B. Moore                                                           Value:scrap, however, the debtor received a
Avenue, Philadelphia, PA 19121                                                        $500 tax credit for this donation.
Relationship:None - Radio
station



None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
       of which the debtor is a benificiary.




       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
       within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
       other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)




       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.




NAME AND ADDRESS OF OWNER                                           DESCRIPTION AND VALUE OF PROPERTY                                LOCATION OF PROPERTY

Owner:Jean Milani                                                   Description:Harp, Prints and                                     These items that
Address:748 South Highland                                          furniture                                                        belong to the
Avenue, Merion, PA 19066                                            Value:$5,000                                                     Debtor's sister are
                                                                                                                                     located in the
                                                                                                                                     Debtor's residence.




                                                                                                                    Statement of Affairs - Page 5
               Case
B7 - (Official Form     15-12430-amc
                    7) (4/13)                        Doc 1         Filed 04/08/15 Entered 04/08/15 16:41:30                               Desc Main
                                                                   Document Page 55 of 67
NAME AND ADDRESS OF OWNER                                              DESCRIPTION AND VALUE OF PROPERTY                           LOCATION OF PROPERTY

Owner:Kristine Howard                                                  Description:Various personal                                These personal
Address:137 Channing Avenue,                                           property                                                    property items were
Malvern, PA 19355                                                      Value:$2,000                                                never removed from
                                                                                                                                   the Debtor's house
                                                                                                                                   after the Debtor and
                                                                                                                                   his ex-wife were
                                                                                                                                   divorced.


Owner:Justin Coppa                                                     Description:Piano                                           Debtor's residence
Address:148 Ginger Drive,                                              Value:$25,000
Birdsboro, PA 19058


       15. Prior address of debtor
None   If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
       period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
       New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
       the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




       17. Environmental Information
None   For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
       wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
       cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
       debtor,
       including, but not limited to disposal sites.

       "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
       similar termunder an Environmental Law:

       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
       under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
       governmental unit to which the notice was sent and the date of the notice.




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
       party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




                                                                                                                  Statement of Affairs - Page 6
                Case
 B7 - (Official Form     15-12430-amc
                     7) (4/13)                         Doc 1         Filed 04/08/15 Entered 04/08/15 16:41:30                                      Desc Main
                                                                     Document Page 56 of 67
         18. Nature, location and name of business
 None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
         businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
         self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
         which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                  If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
         commencment of this case.

                  If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
         commencment of this case.


                                       LAST FOUR DIGITS OF                                                                                             BEGINNING AND
NAME                                   SOCIAL-SECURITY OR                      ADDRESS                                 NATURE OF BUSINESS              ENDING DATES
                                       OTHER INDIVIDUAL
                                       TAXPAYER-I.D. NO.
                                       (ITIN)/ COMPLETE EIN


Nanomaterials                          ID:XX-XXXXXXX                           15 North Bacton                         nanomaterials                   2/22/1999
Company, LLC                                                                   Hill Road,                                                              to present.
                                                                               Malvern, PA
                                                                               19355


 None    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




         19. Books, records and financial statements
 None    a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of
         books of account and records of the debtor.

NAME AND ADDRESS                                                                                                                              DATES SERVICES RENDERED

Name:Vincent Graham, CPA                                                                                                                      Dates:2004 to 2012
Address:31 S. High Street, West Chester, PA 19382


Name:Bookkeeping Express, Michael Foster                                                                                                      Dates:2011 to 2013
Address:2809 West Chester Pike, Broomall, PA
19008


 None    b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
         or prepared a financial statement of the debtor.




                                                                                                                               Statement of Affairs - Page 7
               Case
B7 - (Official Form     15-12430-amc
                    7) (4/13)                        Doc 1        Filed 04/08/15 Entered 04/08/15 16:41:30                                   Desc Main
                                                                  Document Page 57 of 67


None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If
       any of the books of account and records are not available, explain.



NAME                                                                     ADDRESS

Name:Nicholas V. Coppa                                                   7 Line Road, Malvern, PA 19355
Missing:None


None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
       within two years immediately preceding the commencement of this case.




       20. Inventories
None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
       amount and basis of each inventory.




None   b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


                                                                                                                                              PERCENTAGE
NAME AND ADDRESS                                                          NATURE OF INTEREST                                                  OF INTEREST

Name:Nicholas V. Coppa                                                    Interest:Member                                                     Percent:60
Address:7 Line Road, Malvern, PA                                                                                                              %
19355
Address:
Address:


Name:Paul S. Kim                                                          Interest:Member                                                     Percent:12
Address:760 Drover Lane, Chester                                                                                                              %
Springs, PA 19425
Address:
Address:


Name:John E. Demos                                                        Interest:Member                                                     Percent:8%
Address:unknown
Address:
Address:


Name:William T. Mayer, Jr.                                                Interest:Member                                                     Percent:2%

                                                                                                                            Statement of Affairs - Page 8
               Case
B7 - (Official Form     15-12430-amc
                    7) (4/13)                     Doc 1        Filed 04/08/15 Entered 04/08/15 16:41:30                                       Desc Main
                                                               Document Page 58 of 67
                                                                                                                                                 PERCENTAGE
NAME AND ADDRESS                                                       NATURE OF INTEREST                                                        OF INTEREST

Address:1655 Limerick Lane,
Dresher, PA 19025
Address:
Address:


Name:Nenito P. Uy                                                      Interest:Member                                                           Percent:4%
Address:1497 Broad Run Road,
Downingtown, PA 19335
Address:
Address:


Name:Dean M. Lusky                                                     Interest:Member                                                           Percent:4%
Address:8 Pinewood Drive,
Downingtown, PA 19335
Address:


Name:Frank J. Bonini                                                   Interest:Member                                                           Percent:5%
Address:113 Eat Laurier Place, Bryn
Mawr, PA 19010
Address:
Address:


Name:John T. Freyhof                                                   Interest:Member                                                           Percent:1%
Address:611 Vassar Hill Road,
Wayne, PA 19087
Address:
Address:


Name:Karl. V. Chandler                                                 Interest:Member                                                           Percent:4%
Address:5 Plymouth Road, Newtown
Square, PA 19073
Address:
Address:


None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5
       percent or more of the voting or equity securities of the corporation.




       22. Former partners, officers, directors and shareholders
None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
       commencement of this case.




                                                                                                                      Statement of Affairs - Page 9
               Case
B7 - (Official Form     15-12430-amc
                    7) (4/13)                      Doc 1        Filed 04/08/15 Entered 04/08/15 16:41:30                                    Desc Main
                                                                Document Page 59 of 67


         23. Withdrawals from a partnership or distribution by a corporation
None     If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
         loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.

NAME & ADDRESS OF                                                                                                AMOUNT OF MONEY OR
RECIPIENT, RELATIONSHIP TO DEBTOR                           DATE AND PURPOSE OF WITHDRAWAL                       DESCRIPTION AND VALUE OF PROPERTY

Name:Nicholas V. Coppa                                      Date:August - October,                               Amount:
Address:7 Line Road,                                        2013                                                 Description:Wages
Malvern, PA 19355                                           Purpose:Compensation
Relation:


         24. Tax Consolidation Group.
None     If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
         of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




         25. Pension Funds.
None     If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
         responsible for contributing at any time within six years immediately preceding the commencement of the case.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date     4/ 7/2015                        Signature      /s/ Nicholas V. Coppa
                                                 of Debtor


                                                 Signature
       Date
                                                 of Joint Debtor
                                                 (if any)




                                                                                                                     Statement of Affairs - Page 10
                Case
 B7 - (Official Form     15-12430-amc
                     7) (4/13)                        Doc 1       Filed 04/08/15 Entered 04/08/15 16:41:30                                     Desc Main
                                                                  Document Page 60 of 67
    DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
34(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                              Social-Security No.(Required by 11 U.S.C. § 110.)


If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,, responsible
person, or partner who signs this document.




Address



   X
       Signature of Bankruptcy Petition Preparer                                                                            Date




Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.




                                                                                                                        Statement of Affairs - Page 11
           Case 15-12430-amc
Rule 2016(b) (8/91)                      Doc 1     Filed 04/08/15 Entered 04/08/15 16:41:30                      Desc Main
                                                   Document Page 61 of 67
                                    UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF PENNSYLVANIA
                                            EASTERN DIVISION
        Nicholas V. Coppa                                                                           Case No.
In re
                                                                                                    Chapter 13
                                                                                         / Debtor
        Attorney for Debtor:   Robert J. Lohr II

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                hourly
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                       500.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                      0.00

3. $             310.00          of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
      None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 4/ 7/2015                               Respectfully submitted,


                                              X /s/ Robert J. Lohr II
                        Attorney for Petitioner: Robert J. Lohr II
                                                 Lohr & Associates, Ltd.
                                                 1246 West Chester Pike
                                                 Suite 312
                                                 West Chester PA 19382
                                                 (610) 701-0222
        Case 15-12430-amc             Doc 1     Filed 04/08/15 Entered 04/08/15 16:41:30                 Desc Main
                                                Document Page 62 of 67
                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA
                                          EASTERN DIVISION


In re Nicholas V. Coppa                                                                   Case No.
                                                                                          Chapter 13
                                                                            / Debtor
    Attorney for Debtor:   Robert J. Lohr II



                                       VERIFICATION OF CREDITOR MATRIX


                  The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of our knowledge.




Date: 4/ 7/2015                                                    /s/ Nicholas V. Coppa
                                                                   Debtor
Case 15-12430-amc   Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30   Desc Main
                            Document Page 63 of 67



                    American Express
                    P. O. Box 297871
                    Fort Lauderdale, FL 33329



                    American Express
                    c/o Becket and Lee, LLP
                    P.O. Box 3001
                    Malvern, PA 19355


                    American InfoSource, LP
                    as Agent for Verizon
                    P.O. Box 248838
                    Oklahoma City, OK 73124-8838


                    Anthony J. Coppa
                    122 Clearfield Avenue
                    Norristown, PA 19403-1658



                    Anthony P. Coppa
                    784 South Highland Avenue
                    Merion Station, PA 19066



                    Cerastes, LLC
                    c/o Weinstein, Pinson & Riley,
                    2001 Western Avenue, Suite 400
                    Seattle, WA 98121


                    Chase
                    P.O. Box 15298
                    Wilmington, DE 19850



                    Chester County DRS
                    117 W Gay St
                    West Chester, PA 19380
Case 15-12430-amc   Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30   Desc Main
                            Document Page 64 of 67



                    Citi
                    P.O. Box 183113
                    Columbus, OH 43218



                    Citimortgage Inc
                    P.O. Box 9438
                    Gaithersburg, MD 20898



                    Daniel Wiant
                    c/o Karen Eichman, Esquire
                    102 East State Street
                    Kennett Square, PA 19348


                    David C. Coppa
                    38 Hillside Avenue
                    Upper Darby, PA 19082



                    Devon Preparatory School
                    363 North Valley Forge Road
                    Devon, PA 19333-1299



                    Discover Fin Svcs LLC
                    P. O. Box 15316
                    Wilmington, DE 19850



                    Enterprise Recovery Systems
                    2000 York Road
                    Suite 114
                    Oak Brook, IL 60523


                    Felicia Coffey
                    2403 Merwood Lane
                    Havertown, PA 19083
Case 15-12430-amc   Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30   Desc Main
                            Document Page 65 of 67



                    Frank Topper
                    50 Belardo
                    Apartment 10
                    Greenbrae, CA 94904


                    Grimley Financial
                    30 Washington Avenue
                    Suite C-6
                    Haddonfield, NJ 08033-3341


                    IC System
                    444 Highway 96 East
                    P.O. Box 64378
                    Saint Paul, MN 55164-0378


                    Jean Milani
                    719 Harper Avenue
                    Drexel Hill, PA 19026



                    Joan Drennen
                    171 Warwick Road
                    Elverson, PA 19520



                    Justin J. Coppa
                    148 Ginger Avenue
                    Birdsboro, PA 19508



                    Kristine C. Howard
                    137 Chaning Avenue
                    Malvern, PA 19355



                    MIDLAND FUNDING
                    8875 AERO DR STE 200
                    SAN DIEGO, CA 92123
Case 15-12430-amc   Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30   Desc Main
                            Document Page 66 of 67



                    National Bank of Malvern
                    2 South Warren Avenue
                    Malvern, PA 19355



                    National Enterprise Systems
                    29125 Solon Road
                    Solon, OH 44139-3442



                    Navient Solutions, Inc.
                    P.O. Box 9640
                    Wilkes Barre, PA 18773-9640



                    Pennsylvania Department of Revenue
                    Bankruptcy Division
                    P.O. Box 280946
                    Harrisburg, PA 17128-0946


                    Robert W. Williams, Esquire
                    Milstead & Associates, LLC
                    220 Lake Drive East, Suite 301
                    Cherry Hill, NJ 08002


                    Sallie Mae
                    Po Box 9655
                    Wilkes Barre, PA 18773



                    Sallie Mae
                    P.O. Box 9655
                    Wilkes Barre, PA 18773



                    Seterus, Inc.
                    P.O. Box 2008
                    Grand Rapids, MI 49501-2008
Case 15-12430-amc   Doc 1   Filed 04/08/15 Entered 04/08/15 16:41:30   Desc Main
                            Document Page 67 of 67



                    St. Aolysius Academy
                    401 S. Bryn Mawr Avenue
                    Bryn Mawr, PA 19010



                    State Farm Financial Services
                    3 State Farm Plaza N-4
                    Bloomington, IL 61791



                    TD Bank, N.A.
                    c/o Jack Seitz, Esquire
                    7535 Windsor Drive
                    Allentown, PA 18195-1034


                    Thomas A. Lee III, Esquire
                    Becket and Lee, LLP
                    P.O. Box 3001
                    Malvern, PA 19355


                    Thomas A. Lee III, Esquire
                    Becket and Lee, LLP
                    16 General Warren Boulevard
                    Malvern, PA 19355


                    Verizon Pennsylvania
                    P.O. Box 11328
                    Saint Petersburg, FL 33733



                    Villa Maria Academy
                    370 Old Lincoln Highway
                    Malvern, PA 19355



                    William L. Howard, Esquire
                    18 West King Street
                    Malvern, PA 19355
